Case 1:25-cv-01015-RCL Document117-1 Filed 06/13/25 Pageiof5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PATSY WIDAKUSWARA, et al.,
Plaintiffs,

V. Civil Action No. 25-1015 (RCL)

KARI LAKE, Senior Advisor to the Acting
CEO of U.S. Agency for Global Media, et al.,

Defendants.

DECLARATION OF LEILI SOLTANI

I, LEILI SOLTANI, hereby make the following declaration pursuant to 28 U.S.C. §

1746:
1. I have been serving in the role of Division Director at Voice of America’s Persian

service since 01/2021. I am currently assigned to serve as the head of newsroom for the Voice

of America. I base this declaration on knowledge and information I have gained in the course of

performing my official duties.

2. In that capacity, I have personal knowledge of, and direct involvement, in the
current broadcasting operations of the Voice of America.

3. Below please find the list of news activities currently being performed by the
Voice of America, within the scope determined by USAGM leadership and available resources,
The substance of all content being produced is decided solely by Voice of America staff. There
are currently 30 journalists within Central News and the four Language service who are In active
status, responsible for range of content, production and support services. Central News is the

part of VOA that streamlines and coordinates the four language services. The language services

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Case 1:25-cv-01015-RCL Document117-1 Filed 06/13/25 Page2of5

Persian, Mandarin, Dar,

) idi “ws in the
are those groups of journalists currently providing news output in

and Pashto languages.

4. In Central News, VOA 1s producing five web stories of 300 — 500 words 1n length

s on the main news of the day and stories of

per day, five days each week. These stories focu

2 3 . age service
interest to all language services. Each story 1S translated and posted on language se

websites. Stories are updated as needed. Central News additionally finds or creates images used

News also produces four to five short broadcast

on all web stories and daily editorials. Central
scripts of 45 seconds of copy, five days per week, for use by language service radio shows. As
needed, Central News assists with video production.

5. The Persian Language Service, which produces news content for the Voice of

America in the Persian language, produces two daily TV news reports in Persian and English

each day, five days a week. Persian language videos are used by the Persian language service.
English language videos are distributed by Central News to other language services. Each video
is between two and four minutes long. The Persian Language Service additionally translates and
publishes one or two USAGM-produced editorials, depending on the number of editorials
provided by the Office of Editorials at USAGM, on the days that they are issued. The Persian
Language Service also writes or translates five to seven daily text news items. Content Is posted
on the language service website or distributed through social media (Instagram, X, Facebook,
Telegram, and YouTube). For the week of May 26 — 30, the internet managing editor for the
Persian Language Service reported that the website recorded 743.6k visits, with 949.1k article
views and 27.8k video views. During the same time period, the internet managing editor for the

Persian Language Service reported that the Persian Language Service recorded 10.8k

engagements (defined as likes, shares, saves, clicks, mentions and comments) on Facebook

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Case 1:25-cv-01015-RCL Document117-1 _ Filed 06/13/25 Page 3of5

392.7k engagements on Instagram, 3.6k engagements on X, and 18.2k engagements on
YouTube.

6. Starting June 13, 2025 the Persian Language Service began implementing a plan
for 24/7 television and digital coverage. Voice of America has recalled all 39 full-time Persian
Language Service employees who remained on administrative leave, one manager and three
producers from other divisions to assist with production, and 32 additional employees from
broadcast operations, master control, and traffic, as well as critical production software support

staff. In total, 75 full-time employees have been recalled to support the new coverage.

7. The Mandarin Language Service, which produces news content for Voice of
America in the Mandarin language, publishes five to nine news stories five days cach week. It
also translates and publishes one or two USAGM-produced editorials, depending on the number
of editorials provided by the Office of Editorials at USAGM, on the days that they are published.
The Mandarin Language Service also produces one video news package, adapted from the video
packages produced by the Persian Language Service. Content 1s posted on the language service
website, or distributed through social media (Instagram, X, Facebook, Telegram, YouTube,
Threads, and WhatsApp). For the week of May 26 — 30, the internet managing editor for the
Mandarin Language Service reported that the website recorded 426.6k visits, with 566.5k article
views and 31.8k video views. During the same time period, the internet managing editor for the
Mandarin Language Service reported that the Mandarin Language Service recorded 1.9k
engagements on Facebook, 0.3k engagements on Instagram, 25.8k engagements on X, and 20k

engagements on YouTube.

8. The Dari Language Service, which produces news content for Voice of America

in the Dari language, produces a 2.5-minute radio show every day, five days per week. It also

Case 1:25-cv-01015-RCL Document117-1 Filed 06/13/25 Page4of5

produces at least seven web articles and one TV package — adapted from the video packages
produced by the Persian Language Service — every day, five days per week. It also translates and
publishes one or two USAGM-produced editorial daily, five days per week, depending on the
number of editorials provided by the Office of Editorials at USAGM. Stories are shared on social
media (Instagram, X and Facebook). Video packages are posted on the language service website
and social media (Instagram, X, Facebook, and YouTube). The radio show is distributed to four
FM Afghan radio affiliates and posted on Facebook along with graphics related to the story
subject matter. For the week of May 26 — 30, the internet managing editor for the Dari Language
Service reported that the website recorded 9.9k visits, with 7.5k article views and 0.5k video
views. During the same time period, the internet managing editor for the Dari Language Service
reported that the Dari Language Service recorded 26.2k engagements on Facebook, 2.1k
engagements on Instagram, 0.6k engagements on X, and 4k engagements on YouTube.

9. The Pashto Language Service, which produces news content for Voice of America
in the Pashto language, produces a 2.5-minutes radio show five days per week, It additionally
produces two original stories for web, translates five articles for web provided by Central News,
and versions one TV package — adapted from the video packages produced by the Persian
Language Service — five days per week, It also translates and publishes one or two USAGM-
produced editorials, depending on the number of editorials provided by the Office of Editorials
at USAGM, five days per week. In addition to radio, which 1s similarly distributed to four FM
Afghan radio affiliates, content is distributed via the language service website and on social
media (Instagram, X, Facebook, and YouTube). For the week of May 26 — 30, the internet
managing editor for the Pashto Language Service reported that the website recorded 13.4k visits,

with 9.5k article views and 1.3k video views. During the same time period, the internet

Case 1:25-cv-01015-RCL Document117-1 Filed 06/13/25 Page5of5

managing editor for the Pashto Language Service reported that the Pashto Language Service
recorded $3.Sk engagements on Facebook, 0.3k engagements on Instagram, and 2k engagements

on YouTube. Engagement data for X during the above time period for the Pashto Language

Service is not available as of the time of this declaration.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: June 13, 2025
Washington, District Columbia

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